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                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            GALVESTON DIVISION

 STATE OF TEXAS, et al.,     §
                             §
      Plaintiffs,            §
                             §
   v.                        §                      No. 3:23-cv-17 (consolidated
                             §                      with No. 3:23-cv-20)
                             §
 UNITED STATES ENVIRONMENTAL §
 PROTECTION AGENCY, et al.,  §
                             §
      Defendants,            §
                             §
 BAYOU CITY WATERKEEPER,     §
                             §
      Intervenor-Defendant.  §


                                 NOTICE OF APPEAL

       Pursuant to 28 U.S.C. § 1292(a)(1), Defendants United States Environmental

Protection Agency; Michael S. Regan, in his official capacity as Administrator of the U.S.

Environmental Protection Agency; United States Army Corps of Engineers; Lieutenant

General Scott A. Spellmon, in his official capacity as Chief of Engineers and Commanding

General, U.S. Army Corps of Engineers; and Michael L. Connor, in his official capacity as

Assistant Secretary of the Army (Civil Works) appeal to the United States Court of

Appeals for the Fifth Circuit from the order entered on March 19, 2023 (Dkt. No. 60),

which granted the State Plaintiffs’ motion for preliminary injunction.

                                              Respectfully submitted,

                                              TODD KIM
                                              Assistant Attorney General

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                                      ENVIRONMENT AND NATURAL
                                      RESOURCES DIVISION

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                            CERTIFICATE OF SERVICE

      I hereby certify that on May 17, 2023, I filed the foregoing using the Court’s

CM/ECF system, which will electronically serve all counsel of record registered to use the

CM/ECF system.



                                                         /s/ Elliot Higgins




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